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Via ECF, Hand Delr'very and Email

Honorabie Denise L. Cote
United States District Court
Southern District of Nevv York
500 Peari Street

New York, NY 10007

Re: SEC v. Alpz`ne Securz'ties Corp.,
Civil No.: 1:17-cv-04l79-DLC~RLE

 

Deal' Judge Cote:

This letter is beingjointly filed by the Plaintiff Securities and Exchange Comrnission
(“SEC”) and Def`endant Alpine Seeurities Corporation (“Alpine”), in response to the Court’s
October 27, 2017 Order (Dkt. No. 49) and to seek leave to file all suspicious activity reports
(“SARs”) and supporting SARs files and information at issue in this matter under seal.

On October 27, 2017, in connection With the defendant’s request for information
concerning the claimed deficiency of certain SARs, the Court ordered the parties to provide to
the Court “three suspicious activity reports (SARs) identified in Table A, as Well as the pages
from Table A addressing the SARS,” by November 1, 2017 at noon.” (See Dkt. No. 49.) The
parties met and conferred telephonically on October 31, 2017 and agreed to submit the following
three SARS and relevant supporting documents, identified by the alleged “vioiation number” on
Table A:

l. Alleged Violation No. 48 and supporting pages (Ex. 1).
2. Alleged Violation No, 199 and supporting pages (EX. 2).
3. Alieged Violation No. 287 and supporting pages (Ex. 3).

The parties seek leave to file those documents under seal pursuant to Rule 4(A) of the
Court’s lndividual Practices in Civii Cases, and Paragraphs 4, 6 and 10 of` the Protective Order
entered by the Court on September 25, 2017 (Dkt. No. 36). In the interests of efficiency, the
parties further request the Court enter a standing order allowing the parties to file all SAR
material under seal Without further motion.

We request the sealing of these documents, and any SAR Discovery Material to be filed
going forward', based on the provisions of the protective order and the Banl< Secrecy Act. First,
the SEC has labelled the documents identified above as “SAR Discovery Material.” Pursuant to
Paragraph 3 of the Protective Order, those materials must be filed under seal. (See Protective

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Order, at 1[1[ 6(iii), 10.) SAR Discovery l\/Iaterial is also subject to the confidentiality provisions
under the Banl< Secrecy Act (“BSA”), 31 U.S.C. §§ 531 i-5330, and its implementing
regulations Specifically, 31 C.F.R. § 1023.320(e), states that “[a] SAR, and any information
that would reveal the existence of a SAR, are confidential . . . ” and generally prohibits both
“brol<er-dealers” and governmental entities from disclosing a SAR or any information that vvould
reveal the existence ofa SAR. 31 C.F.R. § 1023.320. ln addition, 31 U.S.C. § 5318(g)(2) of the
BSA generally precludes both “financial institutions,” including broker dealers such as Alpine,
and governmental entities from disclosing “to any person involved in the transaction that the
transaction has been reported.” 31 U.S.C. § 5318(g)(2)(i)~(ii).

Courts interpreting the BSA confidentiality provisions have held that “‘SARS are
confidential and subject to an unqualified discovery and evidentiary privilege that courts have
held cannot be vvaived.”’ S.E.C. v. Yorvl'lle Advz`sors, LLC, 300 F.R.D. 152, 167 (S.D.N.Y. 2014)
(further quotations omitted) (citations omitted). Additionally, as indicated in Alpine’s October
l9, 20l 7 and October 26, 20l 7 letters to the Court, at least one court has held that the BSA
confidentiality provisions deprived the court of authority to review or order disclosure of SAR
material, even under seal. See Gregory v. Bank One Corp., Inc., 200 F. Supp. 2d 1000, i003
(S.D. lnd. 2002). ln accordance With these authorities, Alpine reserves further argument as to the
submission of SAR Discovery Material into evidence at trial in this matter.

Accordingly, the parties seek leave to file Exhibits 1 through 3 to this letter, and all SAR
Discovery Materiai to be filed in the future, under seal.

Respectf`uliy,

/s/Maranda E. Fritz

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M §§ Attorneysfor Defendant Afpme Securmes Corp.

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/S/Terrv R. Mi!ler

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Um'tea’ Stafes Secari`ti‘es and Exchange Commission

 

 

